                     Case 1:20-cv-08924-CM Document 1098 Filed 09/05/23 Page 1 of 2




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         By ECF                                                                      September 5, 2023
         Honorable Colleen McMahon
         United States District Judge
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

                 In Re: New York City Policing During Summer 2020 Demonstrations,
                        No. 20 Civ. 8924 (CM) (GWG)
                        This filing is related to all cases

         Your Honor:

                 I am the Division Chief of the Special Federal Litigation Division in the Office of the Hon.
         Sylvia O. Hinds-Radix, Corporation Counsel of the City of New York. Defendants, the plaintiffs
         in the Payne, People, Gray, and Rolon matters, as well as the Sergeants Benevolent Association
         (“SBA”) and Detectives Endowment Association (“DEA”) Union Intervenors, collectively defined
         as the Parties, now jointly file the following documents:

                 •    Joint Motion to Dismiss with Prejudice and Retain Jurisdiction;
                 •    Memorandum in Support of Parties’ Joint Motion; and
                 •    Proposed Order to Dismiss with Prejudice and Retain Jurisdiction; with attached
                      Proposed Stipulated Order Pursuant to Fed. R. Civ. P. 41(a)(2) as Exhibit A.

               The Parties now jointly respectfully request that the Court endorse the above-detailed
         documents.

                 In addition, the Plaintiffs in Payne, Gray, and Rolon, have also reached settlements in
         principle with Defendants concerning their individual monetary damages in those cases;
         stipulations for those claims will be filed within forty-five (45) days.
         Case 1:20-cv-08924-CM Document 1098 Filed 09/05/23 Page 2 of 2




       Finally, the Parties will soonjointly file: (1) A Proposed Standing Order for the unsealing
ofcertain records that might otherwise be sealed pursuant to New York Criminal Procedure Law
("CPL") §§ 160. 50 and/or 160. 55; and (2) a Proposed Confidentiality Stipulation and Order. Both
items will be needed as part of the Collaborative Process outlined in Exhibit A supra.

                                                     Respectfully submitted,


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                                                     Patricia Miller
                                                     Division Chief
                                                     Special Federal LitigationDivision
ec:    ALL COUNSEL(via ECF)
